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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  VICTORIA DIVISION

STATE OF TEXAS,                        )
GUN OWNERS OF AMERICA, INC.,           )
GUN OWNERS FOUNDATION, and             )
BRADY BROWN,                           )
                                       )                          Case No. 6:23-cv-00013
       Plaintiffs,                     )
                                       )
       v.                              )
                                       )
BUREAU OF ALCOHOL, TOBACCO,            )
FIREARMS AND EXPLOSIVES, UNITED        )
STATES DEPARTMENT OF JUSTICE, and )
STEVEN M. DETTELBACH in his official   )
capacity as the Director of ATF,       )
                                       )
       Defendants.                     )
_______________________________________)

      PRIVATE PLAINTIFFS’ CERTIFICATE OF INTERESTED PARTIES

       COME NOW Gun Owners of America, Inc., Gun Owners Foundation, and Brady

Brown (“Private Plaintiffs”), and pursuant to this Court’s February 14, 2023 Order for

Scheduling Conference and Disclosure of Interested Parties (ECF #11), hereby state as

follows:

       The Private Plaintiffs certify that the following persons, firms, partnerships,

corporations, affiliates, parent corporations, or other entities have an interest in the outcome

of this lawsuit:

   1. Gun Owners of America, Inc. (“GOA”) certifies that it is a non-profit, non-stock

       corporation. GOA has no parent corporation or subsidiaries, and no publicly held

       corporation holds any stock in GOA.

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   2. Gun Owners Foundation (“GOF”) certifies that it is a non-profit, non-stock corporation.

       GOF has no parent corporation or subsidiaries, and no publicly held corporation holds any

       stock in GOF.

   3. Brady Brown is a resident of Shiner, Texas, in Lavaca County.

Counsel for Private Plaintiffs are as follows:

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 Dated April 27, 2023.

 /s/ Stephen D. Stamboulieh
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                            CERTIFICATE OF SERVICE

      I certify that on April 27, 2023, I filed this document or pleading through the Court’s

CM/ECF system, which automatically served it upon all counsel of record.

                                                        /s/ Stephen D. Stamboulieh




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